    Case 19-23492-SLM            Doc 51 Filed 01/08/20 Entered 01/09/20 00:29:15                     Desc Imaged
                                      Certificate of Notice Page 1 of 2
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                             NOTICE OF FAILURE TO FILE SUPPLEMENTAL
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        Case 19-23492-SLM              Doc 51 Filed 01/08/20 Entered 01/09/20 00:29:15                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-23492-SLM
James A. Gilmartin                                                                                         Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Jan 06, 2020
                                      Form ID: pdf903                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 08, 2020.
db             +James A. Gilmartin,   131 Rock Road,   Glen Rock, NJ 07452-2051

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 08, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 6, 2020 at the address(es) listed below:
              Andrew M. Lubin    on behalf of Creditor   Wilmington Trust, NA, successor trustee to Citibank,
               N.A., as Trustee f/b/o holders of Structured Asset Mortgage Investments II Inc., Bear Stearns
               ALT-A Trust 2007-2, Mortgage Pass-Through Certificate bkecf@milsteadlaw.com,
               alubin@milsteadlaw.com
              Andrew M. Lubin    on behalf of Creditor   Select Portfolio Servicing, Inc. as servicing agent for
               Wilmington Trust, NA bkecf@milsteadlaw.com, alubin@milsteadlaw.com
              John P. Fazzio    on behalf of Debtor James A. Gilmartin jfazzio@fazziolaw.com,
              Marie-Ann Greenberg     magecf@magtrustee.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                              TOTAL: 5
